                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTIIERN DMSION

FREDERIC N. ESHELMAN,                              )
                                                   )
                               Plaintiff,          )
                                                   )           JUDGMENT IN A
                                                   )           CIVIL CASE
v.                                                 )           CASE NO. 7:16-cv-18-D
                                                   )
ALAN H. AUERBACH and PUMA                          )
BIOTECHNOLOGY, INC.,                               )
                                                   )
                               Defendants.         )

Decision by Court and Jury. This action came before this Court and Jury for ruling as follows.
IT IS ORDERED, ADJUDGED, AND DECREED that on May 2, 2016, defendant Alan H.
Auerbach was voluntarily dismissed without prejudice from this action.
IT IS FURTHER ORDERED, AND DECREED that on June 12, 2017, the Court GRANTED
Eshelman's motion to dismiss for failure to state a claim upon which relief can be granted and
DENIED AS MOOT Eshelman's motion for relief under California's anti-SLAPP statute.
IT IS FURTHER ORDERED, AND DECREED that on September 28, 2018 the Court
GRANTED IN PART and DENIED IN PART Eshelman's motion for partial summary judgment
and DENIED Puma's motion for summary judgment and EXPOUNDED on these conclusions on
                                                                                                       .J
October 29, 2018.
IT IS FURTHER ORDERED, AND DECREED that pursuant to a jury verdict entered March                   -    \
15, 2019, when read in the context of the entire presentation, Defendant Puma Biotechnology,
Inc.' s statements that plaintiff Frederic N. Eshelman was ''replaced as CEO of PPD" after being
"involved in clinical trial fraud" were false.
IT IS FURTHER ORDERED, AND DECREED that pursuant to a jury verdict entered March
15, 2019, defendant Puma Biotechnology, Inc. acted with actual malice when it accused plaintiff
Frederic N. Eshelman of being ''replaced as CEO of PPD" after being "involved in clinical trial
fraud".
IT IS FURTHER ORDERED, AND DECREED that pursuant to a jury verdict entered March
15, 2019, plaintiff Frederic N. Eshelman is entitled to recover from Defendant Puma
Biotechnology, Inc. compensatory damages in the amount of$15,850,000.00, withpost-
judgment interest at the rate of 2.52% per annum.
IT IS FURTHER ORDERED, AND DECREED that pursuant to a jury verdict entered March
15, 2019, the amount of punitive damages plaintiff Frederic N. Eshelman is awarded is
$6,500,000.00, with post-judgment interest at the rate of 2.52% per annum.
This Judgment Filed and Entered on March 25, 2019, and Copies To:




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Thomas A. Clare                         (via CM/ECF electronic notification)
Daniel P. Watkins                       (via CM/ECF electronic notification)
Dustin A. Pusch                         (via CM/ECF electronic notification)
Elizabeth M. Locke                      (via CM/ECF electronic notification)
Joseph Ronald Oliveri                   (via CM/ECF electronic notification)
Megan L. Meier                          (via CM/ECF electronic notification)
Andrew Kent McVey                       (via CM/ECF electronic notification)
Devlin K. Horton                        (via CM/ECF electronic notification)
David L. Levy                           (via CM/ECF electronic notification)


DATE:                                   PETER A. MOORE, JR., CLERK
March 2S, 2019                          (By) Isl Nicole Sellers
                                        Deputy Clerk




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